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Counsel to the SunEdison Litigation Trust

UNITED STATES BANKRUPTCY COURT
SOUTHERN DISTRICT OF NEW YORK

    In re:                                                           Chapter 11

    SUNEDISON, INC., et al.,                                         Case No. 16-10992 (SMB)

             Reorganized Debtors.1                                   (Jointly Administered)



    SUNEDISON LITIGATION TRUST,
                                                                     Adv. Pro. No. 18-01370 (SMB)
                             Plaintiff,

             – against –

    PURE POWER SYSTEMS, INC.,

                             Defendant.



1
      The Reorganized Debtors in these chapter 11 cases, along with the last four digits of each Reorganized Debtor’s
      tax identification number are as follows: SunEdison, Inc. (5767); SunEdison DG, LLC (N/A); SUNE Wind
      Holdings, Inc. (2144); SUNE Hawaii Solar Holdings, LLC (0994); First Wind Solar Portfolio, LLC (5014);
      First Wind California Holdings, LLC (7697); SunEdison Holdings Corporation (8669); SunEdison Utility
      Holdings, Inc. (6443); SunEdison International, Inc. (4551); SUNE ML 1, LLC (3132); MEMC Pasadena, Inc.
      (5238); Solaicx (1969); SunEdison Contracting, LLC (3819); NVT, LLC (5370); NVT Licenses, LLC (5445);
      Team-Solar, Inc. (7782); SunEdison Canada, LLC (6287); Enflex Corporation (5515); Fotowatio Renewable
      Ventures, Inc. (1788); Silver Ridge Power Holdings, LLC (5886); SunEdison International, LLC (1567); Sun
      Edison LLC (1450); SunEdison Products Singapore Pte. Ltd. (7373); SunEdison Residential Services, LLC
      (5787); PVT Solar, Inc. (3308); SEV Merger Sub Inc. (N/A); Sunflower Renewable Holdings 1, LLC (6273);
      Blue Sky West Capital, LLC (7962); First Wind Oakfield Portfolio, LLC (3711); First Wind Panhandle
      Holdings III, LLC (4238); DSP Renewables, LLC (5513); Hancock Renewables Holdings, LLC (N/A);
      EverStream HoldCo Fund I, LLC (9564); Buckthorn Renewables Holdings, LLC (7616); Greenmountain Wind
      Holdings, LLC (N/A); Rattlesnake Flat Holdings, LLC (N/A); Somerset Wind Holdings, LLC (N/A); SunE
      Waiawa Holdings, LLC (9757); SunE Minnesota Holdings, LLC (8926); SunE MN Development Holdings,
      LLC (5388); and SunE MN Development, LLC (8669). The address of the Reorganized Debtors’ corporate
      headquarters is Two CityPlace Drive, 2nd floor, St. Louis, MO 63141.




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                                AMENDED CERTIFICATE OF SERVICE

I, PAULINE Z. RATKOWIAK, hereby certify:

                  1. I am employed as a paralegal with the law firm of Cole Schotz P.C., counsel

to SunEdison Litigation Trust, the Plaintiff in the above–captioned adversary proceeding.

                  2. On June 14, 2018, this office caused true copies of the (i) First Amended

Adversary Complaint, dated June 13, 2018 [Adv. Pro. Docket No. 3]; (ii) Second Summons and

Notice of Pretrial Conference in an Adversary Proceeding, dated June 14, 2018 [Adv. Pro.

Docket No. 5]; and (iii) Order Granting SunEdison Litigation Trust’s Motion for Order

Establishing Procedures Governing Adversary Proceedings Pursuant to Sections 502, 547, 548

and 550 of the Bankruptcy Code [Docket No. 5390], to be served upon the following parties by

first class mail postage prepaid:

 Pure Power Systems, Inc.                                Pure Power Engineering, Inc.
 Attn: Officer, Managing Agent                           (dba Pure Power Systems, Inc.)
 or General Agent                                        Attn: Richard Ivins, President
 50 Harrison St., Suite 306                              50 Harrison St., Suite 210
 Hoboken, NJ 07030                                       Hoboken, NJ 07030

 PV Pros, Inc. (aka Pure Power Systems Inc.)
 c/o Richard A. Ivins
 5 Marine View Plaza, Suite 301
 Hoboken, NJ 07030


         I certify that the foregoing statements made by me are true. I am aware that if any of the

foregoing statements made by me are willfully false, I am subject to punishment.

DATED: June 18, 2018

                                                         /s/ Pauline Z. Ratkowiak
                                                         Pauline Z. Ratkowiak




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